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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


NATALIE JOHNSON,

                           Plaintiff,                                               ORDER
      v.
                                                                               19-cv-760-wmc
C.R. BARD INC. and
BARD PERIPHERAL VASCULAR INC.,

                           Defendants.




      Before the court is the parties’ request for ruling on objections to certain deposition

designations as to Jason Greer.


 DEPONENT       PL AFFIRM         DEF OBJECTIONS                PL RESPONSE TO                  COURT
                                                                OBJECTIONS                      RULING

 Greer, Jason                     Bard objects to the           Bard chose to market the        OVERRULED
 08/11/2014                       playing of this deposition    Meridian filter using the
                                  under Rules 401, 402          510(k) process which
                                  and 403. Mr. Greer is a       relied upon the Recovery
                                  former sales manager who      filter as the predicate. All
                                  left Bard in 2007, before     G2 filter platform filters,
                                  the development of the        including the Meridian
                                  Meridian filter. In fact,     trace their design history
                                  he had no involvement         to the Recovery filter and
                                  with the Meridian filter      the defects in the
                                  in any capacity.              Meridian design only can
                                  Bard objects to Plaintiff’s   be understood only in the
                                  references to “Admitted       context of the entire filter-
                                  in the Peterson case” as a    line development.
                                  basis for allowing a          Testimony regarding the
                                  designation to played, or     Recovery, G2 and Eclipse
                                  overruling an objection,      filters' complications,
                                  and submits that the          testing, warnings and
                                  testimony should be           design are relevant and are
                                  consider based on the         not unfairly prejudicial.
                                  facts and applicable law      Judge Campbell agreed


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                             and rulings in this case.      with this position in Jones
                             The Peterson case              v. Bard. [MDL Order No.
                             involved a different filter,   10819]. The failure modes
                             different claims, and was      are relevant to the
                             decided under different        assessment of the defects
                             state law.                     in the design of the filter
                                                            whether a particular
                                                            failure mode has occurred;
                                                            however, Mrs. John has
                                                            experienced tilt,
                                                            migration, perforation,
                                                            and fracture of her filter
                                                            with pieces of the device
                                                            embolizing to her heart.
                                                            She is still at risk for
                                                            death or serious injury in
                                                            the future.

Greer, Jason   5:16-5:18                                    Admitted in Peterson
08/11/2014

Greer, Jason   5:21-5:22                                    Admitted in Peterson
08/11/2014

Greer, Jason   22:06-22:11                                  Admitted in Peterson
08/11/2014

Greer, Jason   27:05-27:10                                  Admitted in Peterson
08/11/2014

Greer, Jason   173:07        Rules 401, 402, 403 –          Admitted in Peterson           OVERRULED
08/11/2014                   Testimony relates to           Bard's knowledge
               ending with   irrelevant and prejudicial     regarding the Recovery
                             evidence regarding Bard’s      Filter's risks, and Bard's
               "No. 12."
                             conduct related to the         intent in ultimately
                             Recovery Filter.               redesigning its retrievable
                             Irrelevant and any             filters to create the G2
                             probative value                family (including the filter
                             outweighed by prejudicial      at issue) in response to
                             effect.                        the risks of the Recovery
                                                            Filter, is relevant to,
                                                            among other things, Bard's
                                                            warnings were adequate
                                                            and its knowlegde based
                                                            upn the failure of its
                                                            testing and design of the
                                                            G2X and Meridian.
                                                            Further, issues with the

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                                                         Recovery Filter are
                                                         relevant to consumer
                                                         expectations in
                                                         connection with the filter.




Greer, Jason   174:16-      Rules 401, 402, 403 –        Admitted in Peterson           OVERRULED
08/11/2014     175:09       Testimony relates to         Bard's knowledge
                            irrelevant and prejudicial   regarding the Recovery
                            evidence regarding Bard’s    Filter's risks, and Bard's
                            conduct related to the       intent in ultimately
                            Recovery Filter.             redesigning its retrievable
                            Irrelevant and any           filters to create the G2
                            probative value              family (including the filter
                            outweighed by prejudicial    at issue) in response to
                            effect.                      the risks of the Recovery
                                                         Filter, is relevant to,
                                                         among other things, Bard's
                                                         warnings were adequate
                                                         and its knowlegde based
                                                         upn the failure of its
                                                         testing and design of the
                                                         G2X and Meridian.
                                                         Further, issues with the
                                                         Recovery Filter are
                                                         relevant to consumer
                                                         expectations in
                                                         connection with the filter.



DEPONENT       DEF          PL OBJECTIONS                DEF RESPONSE TO                COURT
               COUNTER                                   OBJECTIONS                     RULING

Greer, Jason   174:10-
08/11/2014     175:11
               subject to
               objection

Greer, Jason   175:13-
08/11/2014     175:20
               subject to
               objection




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 Greer, Jason     175:22-
 08/11/2014       176:05
                  subject to
                  objection



      Accordingly, IT IS ORDERED that the parties’ request for rulings on objections to certain

designations is GRANTED, and the objections are sustained in part and overruled in part as

provided above.

      Entered this 5th day of June, 2021.

                                            BY THE COURT:

                                             /s/
                                             __________________________________
                                             WILLIAM M. CONLEY
                                             District Judge




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